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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD BROADCAST               §
DISTRIBUTION SYSTEMS, LLC          §
                                   §
 Plaintiff,                        §                        Case No: 2:16-cv-1261-RWS
                                   §
vs.                                §
                                   §                        LEAD CASE
BEACHBODY, LLC                     §
                                   §
Defendant.                         §
___________________________________ §
ROTHSCHILD BROADCAST               §
DISTRIBUTION SYSTEMS, LLC          §
                                   §
 Plaintiff,                        §                        Case No: 2:16-cv-1448-RWS
                                   §
vs.                                §                        CONSOLIDATED CASE
                                   §
UDEMY, INC.                        §
                                   §
Defendant.
      .                            §
___________________________________ §

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Broadcast Distribution Systems,

LLC’s motion to dismiss without prejudice Defendant pursuant to Fed. R. Civ. P. 41(a).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant Udemy, Inc. are

dismissed without prejudice with each party to bear its own fees and costs.

SO ORDERED.

         SIGNED this 6th day of March, 2017.



                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE
